                                           Final Insurance
                    Case 1:23-mi-99999-UNA Document  2344-1Bill
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                                                              Bill Date: 03/28/22

   Billing Company:
   Hartford Fire Insurance Company


    Pay The Minimum By The Due Date                                                      Need Help?
    Bill Account Number 14216131
                                                                               Visit business.thehartford.com to pay bills, view
    Due Date                            04/19/22                               policy documents, get certificates, and more.
    Minimum Due                         $156,600.00
                                                                               Talk to us online using live chat, or call us at
    Balance                             $156,600.00
                                                                               1-866-467-8730 weekdays from 8:00 AM to
                                                                               8:00 PM ET.
     Your Upcoming Bill Installments
      Due Date                    Minimum Due                                  Named Insured: ASK STAFFING (PRIMARY
                                                                               POLICY)
      04/19/22                    $156,600.00
                                                                               Agent: BURNETTE INSURANCE AGENCY INC
                                                                               Agent Phone Number: 1-770-339-8888
                                                                               For policy changes please contact your agent.
    Important Messages:
      • Your bill is past due, and your coverage is no longer active. Please pay the full minimum amount due. It won't
        reinstate your policy, but it will go toward paying for the coverage we provided through the cancelation effective
        date. Without a payment, we'll forward your unpaid balance to our collections department.

    Billing Details For Your Policies
     Policy Number                Policy Type                 Policy Period           Policy Status            Bill Plan     Balance        Minimum
                                                                                                                                              Due
    20WEAR8947           Workers Compensation                06/19/19-06/19/20 Expired                                       $66,221.00     $66,221.00
    20WEAR8947           Workers Compensation                06/19/20-06/19/21 Expired                                       $87,011.00     $87,011.00
    20TP0291123          Third Party Crime                   06/19/21-06/19/22 Cancelled 09/12/21                             $1,597.91      $1,597.91
    20TP0291124          Third Party Crime                   06/19/21-06/19/22 Cancelled 09/12/21                             $1,705.09      $1,705.09
                          Previously Billed Fees                                                                                 $65.00      $65.00
                                                                                                              TOTALS        $156,600.00 $156,600.00




Pay your bill online at business.thehartford.com.Make a one-time payment, or sign up for Autopay and never worry about missing a payment.

                 Please detach here and insert with your payment. Write the account number on the check and make payable to The Hartford.


                                                   Account Number: 14216131
                                                                                                    Payment Due Date           04/19/22
                                                                                                      Minimum Due              $156,600.00
                                                   Amount Enclosed:                                     Balance                $156,600.00
         Mail Payments To:
         The Hartford
         P O Box 660916                                                      2314
                                                                             ASK STAFFING (PRIMARY POLICY)
         Dallas, TX 75266-0916
                                                                             6495 SHILOH ROAD
                                                                             SUITE 300
                                                                             ALPHARETTA, GA 30005




                                                                                                               10454096 03/28/22 10 20 14216131 30 NU54
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Transactions And Other Charges Since Your Last Bill
Transaction           Transaction Detail               Policy Number        Policy Type              Payments      Billing
   Date                                                                                             and Activity    Fees
              No new activity


Ways To Pay Your Bill
• Pay online at business.thehartford.com. Some policies may not be available in our automated system.
• Set up AutoPay to make automatic payments from your bank account. Never worry about missing a payment. Enroll
  at business.thehartford.com.
• Pay by phone with a one-time payment from your bank account. Call our automated system at 1-866-467-8730.
  Some policies may not be available in our automated system.
• Pay by mail with the enclosed envelope. Include only your bill stub and payment. Allow atleast 10 days for delivery. If
  you have other correspondence to send, do not send it with your payment. Mail it separately to: The Hartford, 301
  Woods Park Drive, Clinton, NY 13323.
• To mail Overnight/Express payments, send payments only to: Deluxe - The Hartford Box #916, 3000 Kellway Drive
  Suite 120, Carrollton, TX 75006.

Payment Rules And Bill Definitions
Payment Application: We will apply payments received in the following order:
    •     Past due and audit premium on expired or canceled policies
    •     Past due premium on active policies
    •     Past due fees, then
    •     Current account changes
    Alternate payment instructions with your check will not be honored. When you provide a check as payment, you
    authorize us to either use the information from your check to make a one-time electronic transfer from your bank
    account or process your payment as a check transaction.
Audit: At the start of your policy term, we estimate the premium you'll owe. After audit, the actual amount you owe may
be different. This line shows the difference between your estimated premium and your actual premium.
Installment Fee: We charge this fee with each installment, except where prohibited by law.
Late Fee: You will be charged $0.00 when the minimum amount due isn't paid by the due date.
New Fees: The total of all fees assessed on the current bill.
NSF Fee: You will be charged $0.00 if your payment fails because of insufficient funds.
Policy Credits: Some things, like audit results or endorsement changes, might put a credit back on your account. If
your account has a balance, instead of issuing a refund, we use those credits toward your future payments.
State/Local Surcharges or Fees: Some states or municipalities require us to collect an extra amount on top of your
premium.
